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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,


                    -against-                                      24-CR-542 (AS)

 SEAN COMBS,                                                            ORDER
                                Defendant.



ARUN SUBRAMANIAN, United States District Judge:

       The Government’s brief opposing Combs’s motion to suppress states that “the affiant
learned of most of the allegedly omitted information after the Affidavits were submitted.” Dkt.
171 at 25 (emphasis in original). Combs responds that the Court “should not accept the
[G]overnment’s repeated claims of ignorance without some supporting affidavit or other
evidentiary foundation.” Dkt. 187 at 10.
        By Friday, April 4, 2025, the Government should submit an affidavit from the affiant
stating what (if any) of the allegedly-omitted information they were aware of at the time the
warrant applications at issue were made.

       SO ORDERED.

Dated: March 25, 2025
       New York, New York



                                                             ARUN SUBRAMANIAN
                                                             United States District Judge
